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 9                               UNITED STATES DISTRICT COURT

10                              EASTERN DISTRICT OF CALIFORNIA

11                                         FRESNO DIVISION

12
     GERALD CARLIN, JOHN RAHM, PAUL                   Case No. 1:09 CV 00430-AWI EPG
13   ROZWADOWSKI and DIANA WOLFE,
     individually and on behalf of themselves and     CLASS ACTION
14   all others similarly situated,
                                                      FOURTH STIPULATION TO AMEND
15                                    Plaintiffs,     THE SCHEDULING ORDER;
                                                      ORDER THEREON
16   v.

17   DAIRYAMERICA, INC. and
     CALIFORNIA DAIRIES, INC.,
18
                                      Defendants.
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      [1:09 CV 00430-AWI-GSA] FOURTH STIP TO AMEND THE SCHEDULING ORDER; [PROPOSED] ORDER
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 1           Effective this 6th day of October 2015, the parties recite and stipulate as follows:

 2                                                RECITALS

 3           WHEREAS, on August 6, 2015, based on a stipulation entered into by the parties, the

 4    Honorable Magistrate Judge Gary S. Austin extended the pre-certification schedule [#219] and

 5    ordered class certification discovery (including the filing of any motions to compel) to be

 6    completed by November 13, 2015 and Plaintiffs’ motion for class certification to be filed by

 7    January 8, 2016, with Defendant to file its opposition no later than March 21, 2016, with

 8    Plaintiffs to file any reply brief no later than April 18, 2016, and with a hearing on Plaintiffs’

 9    motion for class certification to be heard on May 27, 2016;

10           WHEREAS, on September 25, 2015, the Plaintiffs filed a motion for leave to amend the

11    complaint to add causes of action and defendant parties;

12           WHEREAS, the parties have agreed to extend the briefing schedule regarding Plaintiffs’

13    motion for leave to amend the complaint, and also to extend the page limits for the opposition

14    and reply briefs in response to that motion;

15           WHEREAS, in light of Plaintiffs’ motion for leave to amend the complaint and the

16    associated briefing schedule, the parties have agreed to extend the deadline for the close of class

17    certification discovery and the filing of the motion for class certification;

18           Now, therefore, the parties hereto do stipulate as follows:
19           1.      Subject to court approval, the briefing schedule regarding Plaintiffs’ motion for

20    leave to amend the complaint should now be as follows:

21                          October 23, 2015: Last day for Defendants to file opposition to Plaintiffs’

22                           motion for leave to amend the complaint.

23                          November 6, 2015: Last day for Plaintiffs to file reply brief in support of

24                           their motion for leave to amend the complaint.

25                          November 16, 2015, at 1:30 PM, Courtroom 2: Hearing on motion for

26                           leave to amend the complaint.
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      [1:09 CV 00430-AWI-GSA] FOURTH STIP TO AMEND THE SCHEDULING ORDER; [PROPOSED] ORDER 1
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 1           2.     Subject to court approval, the page limits for the briefs in response to Plaintiffs’

 2    motion for leave to amend the complaint, should now be as follows:

 3                        Opposition Brief: The opposition brief may be up to, but will not exceed,

 4                         35 pages in length.

 5                        Reply Brief: The reply brief may be up to, but will not exceed, 20 pages in

 6                         length.

 7           3.     Subject to court approval, the pre-certification case schedule should now be as

 8    follows:

 9                        December 14, 2015: close of class certification discovery.

10                        February 9, 2016: Last day for Plaintiffs to file motion for class

11                         certification (and any accompanying expert disclosures, reliance materials,

12                         and data sets).

13                        April 22, 2016: Last day for Defendants to file opposition to Plaintiffs’

14                         motion for class certification.

15                        May 20, 2016: Last day for Plaintiffs to file reply brief in support of

16                         motion for class certification.

17                        July 8, 2016, at 10:00 AM, Courtroom 10: Hearing on motion for class

18                         certification.
19    DATED: October 6, 2015                 Respectfully submitted,
20                                           BERMAN DeVALERIO
21

22                                           By:    /s/ A. Chowning Poppler
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      [1:09 CV 00430-AWI-GSA] FOURTH STIP TO AMEND THE SCHEDULING ORDER; [PROPOSED] ORDER 2
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      [1:09 CV 00430-AWI-GSA] FOURTH STIP TO AMEND THE SCHEDULING ORDER; [PROPOSED] ORDER 3
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 1    Dated: October 6, 2015          DAVIS WRIGHT TREMAINE LLP

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17

18                                          ORDER

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      IT IS SO ORDERED.
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      Dated:   October 21, 2015
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                                            SENIOR DISTRICT JUDGE
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      [1:09 CV 00430-AWI-GSA] FOURTH STIP TO AMEND THE SCHEDULING ORDER; [PROPOSED] ORDER 4
